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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

SUMMER JOY LAKE, CASE NUMBER

CV 19-9334 FMO (JCx)

PLAINTIFF(S)
Vv.

 

WELLS FARGO BANK, et al. ORDER RE REQUEST TO PROCEED
IN FORMA PAUPERIS
DEFENDANT(S)

 

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby GRANTED.

LR [09 O CAA
Date ‘ ak aa ate Judge

IT IS RECOMMENDED that the Request to Proceed In Forma Pauperis bet DENIED for the following reason(s):

 

 

 

 

 

 

[J Inadequate showing of indigency [[] District Court lacks jurisdiction
[J Legally and/or factually patently frivolous [-] Immunity as to

[-] Other:

Comments:

Date

 

United States Magistrate Judge

 

 

 

 

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby:
[] GRANTED
["] DENIED (see comments above). IT IS FURTHER ORDERED that:
("] Plaintiff SHALL PAY THE FILING FEES IN FULL within 30 days or this case will be dismissed.
(1) This case is hereby DISMISSED immediately.
([] This case is hereby REMANDED to state court.

 

 

Date United States District Judge

CV-73 (08/16) ORDER RE REQUEST TO PROCEED IN FORMA PAUPERIS
